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HLED BY_~.?L D.c
IN THE UNITED STATES DISTRICT COURT l

FOR THE wESTERN DISTRICT OF TENNESSEE 05APR la Pn ¢=26
EASTERN DIVISION c"
chair s m
C-.EH~; 05 43 DJST. cr
WD. uf i;\.-:-JACKSON`

U'NITED STA'I‘ES OF AMERICA
VS. CI`. NO.l:OO-CR-lOOOB-Ol-T
JEFFERY WAYNE WYK_E

JU'DGMEN'I` ON SUPERVISED RELEASE VIOLATION

This cause came to be heard on April 12, 2005, Assistant
U. S. Attorney, James W. Powell , representing the
government, and the defendant appeared in person and with
counsel, M. Dianne Smothers, Federal Public Defender, who was
appointed and admits to the allegations set forth in the
Supervised Release Violation Petition. After questioning the
defendant, hearing statements of counsel, the Court finds the
defendant guilty as charged in the Supervised Release Violation
PetitiOn .

IT IS THEREFORE ORDERED that the defendant has violated the
terms of his supervised release and that he be sentenced to the
custody of the Bureau of Prisons for a period of fourteen (14)

MONTHS, with no additional supervise release.

Th|s document entered on the docket sheet fn compliance

with nme 55 and/or az(b) mch on Q§{ ~QD' -05 @

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The Court recommend defendant serve sentenced at an
institution as close to West Tennessee as possible.
The defendant is remanded to the custody of the United

States Marshal.

IT Is so oRDERED. Q b M

 

 

JAME . 'I'ODD
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DATE:

DISTRIC COURT - WESERNT D"'TRCT oFTENNESSEE

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Honorable J ames Todd
US DISTRICT COURT

